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                                                           11                              UNITED STATES DISTRICT COURT
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                                                           12                 CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
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                                                                 RAUL NOVOA, JAIME CAMPOS                            Case No. 5:17-cv-02514-JGB-SHKx
                                                           14    FUENTES, ABDIAZIZ KARIM, and
                                                                 RAMON MANCIA, individually and on                   Assigned to Hon. Jesus G. Bernal
                                                           15    behalf of all others similarly situated,
                                                           16                           Plaintiffs,                  DEFENDANT THE GEO
                                                                                                                     GROUP, INC.’S ANSWER AND
                                                           17                                                        COUNTERCLAIM TO
                                                                             vs.                                     PLAINTIFFS’ THIRD
                                                           18                                                        AMENDED COMPLAINT FOR
                                                                 THE GEO GROUP, INC.,                                DECLARATORY AND
                                                           19                                                        INJUNCTIVE RELIEF AND
                                                                                      Defendant.                     DAMAGES
                                                           20
                                                                 THE GEO GROUP, INC.,
                                                           21                                                        TAC Filed:     September 16, 2019
                                                                                      Counter-Claimant,              SAC Filed:     December 24, 2018
                                                           22                                                        FAC Filed:     July 6, 2018
                                                                             vs.                                     Complaint
                                                           23                                                        Filed:         December 19, 2017
                                                                 RAUL NOVOA, JAIME CAMPOS                            Trial Date:    None
                                                           24
                                                                 FUENTES, ABDIAZIZ KARIM, and
                                                           25    RAMON MANCIA, individually and on
                                                                 behalf of all others similarly situated,
                                                           26
                                                                                      Counter-Defendant.
                                                           27
                                                                             Defendant, THE GEO GROUP, INC., by and through its undersigned counsel,
                                                           28
                                                                                                                              CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                                                           1
                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1   hereby files its Answer and Affirmative Defenses to the Third Amended Complaint for
                                                            2   Declaratory and Injunctive Relief and Damages (the “TAC”) filed by Plaintiffs, Raul
                                                            3   Novoa (“Novoa”), Jaime Campos Fuentes (“Fuentes”), Abdiaziz Karim (“Karim”), and
                                                            4   Ramon Mancia (“Mancia”) (collectively, the “Plaintiffs”), and states:
                                                            5                                    PRELIMINARY STATEMENT
                                                            6                1.    In response to the allegations in Paragraph 1 of the TAC, Defendant admits
                                                            7   that it operates the Adelanto ICE Processing Center (“Adelanto”). Defendant otherwise
                                                            8   denies the allegations in Paragraph 1 of the TAC.
                                                            9                2.    Defendant admits the allegations in Paragraph 2 of the TAC.
                                                           10                3.    In response to the allegations in Paragraph 3 of the TAC, Defendant admits
                                                           11   that it owns and operates fourteen civil immigration detention centers in the United
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                                                           12   States. Defendant otherwise denies the allegations in Paragraph 3 of the TAC.
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                                                           13                4.    Defendant denies the allegations in Paragraph 4 of the TAC.
                                                           14                5.    In response to the allegations in Paragraph 5 of the TAC, Defendant admits
                                                           15   that, pursuant to its contract with the United States Immigration and Customs
                                                           16   Enforcement (“ICE”), it pays detained immigrants $1 per day for participation in the
                                                           17   voluntary detainee work program for certain work performed. Defendant otherwise
                                                           18   denies the allegations in Paragraph 5 of the TAC.
                                                           19                6.    Defendant denies the allegations in Paragraph 6 of the TAC.
                                                           20                7.    Defendant denies the allegations in Paragraph 7 of the TAC.
                                                           21                8.    Defendant denies the allegations in Paragraph 8 of the TAC.
                                                           22                9.    Defendant denies the allegations in Paragraph 9 of the TAC.
                                                           23                10.   Defendant denies the allegations in Paragraph 10 of the TAC.
                                                           24                11.   In response to the allegations in Paragraph 11 of the TAC, Defendant admits
                                                           25   that Plaintiffs purport to bring a class action lawsuit against Defendant. As to the
                                                           26   remaining allegations, Defendant responds that the allegations are a legal conclusion to
                                                           27

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                                                                                                                              CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                                                           2
                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1   which no response is required. To the extent any of the remaining allegations are factual
                                                            2   in nature, Defendant denies those allegations in Paragraph 11 of the TAC.
                                                            3                                    JURISDICTION AND VENUE
                                                            4                12.   In response to the allegations in Paragraph 12 of the TAC, Defendant admits
                                                            5   the Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, but denies that
                                                            6   Plaintiffs have any right to maintain this action or that Plaintiffs are entitled to any
                                                            7   recovery in this action.
                                                            8                13.   In response to the allegations in Paragraph 13 of the TAC, Defendant admits
                                                            9   the Court has jurisdiction pursuant to the Class Action Fairness Act of 2005, 28 U.S.C.
                                                           10   § 1332(d), but denies that Plaintiffs have any right to maintain this action as a class action
                                                           11   or that Plaintiffs are entitled to any recovery in this action.
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                                                           12                14.   To the extent this Court has jurisdiction over this action, Defendant admits
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                                                           13   the allegations in Paragraph 14 of the TAC as to Plaintiffs Novoa, Fuentes, Karim, and
                                                           14   Mancia only.
                                                           15                15.   Defendant admits the allegations in Paragraph 15 of the TAC.
                                                           16                16.   In response to the allegations in Paragraph 16 of the TAC, Defendant admits
                                                           17   28 U.S.C. § 1367 addresses supplemental jurisdiction, but denies that Plaintiffs have any
                                                           18   right to maintain this action or that Plaintiffs are entitled to any recovery in this action.
                                                           19                                                PARTIES
                                                           20                17.   In response to the allegations in Paragraph 17 of the TAC, Defendant admits
                                                           21   Plaintiff Novoa was detained at Adelanto for a period of time. Defendant otherwise
                                                           22   denies the allegations in Paragraph 17 of the TAC.
                                                           23                18.   In response to the allegations in Paragraph 18 of the TAC, Defendant admits
                                                           24   Plaintiff Fuentes was detained at Adelanto for a period of time. Defendant otherwise
                                                           25   denies the allegations in Paragraph 18 of the TAC.
                                                           26

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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                19.   In response to the allegations in Paragraph 19 of the TAC, Defendant admits
                                                            2   Plaintiff Karim was detained at Adelanto for a period of time. Defendant otherwise
                                                            3   denies the allegations in Paragraph 19 of the TAC.
                                                            4                20.   In response to the allegations in Paragraph 20 of the TAC, Defendant admits
                                                            5   that Plaintiff Mancia is currently detained at Adelanto. Defendant is without knowledge
                                                            6   or information sufficient to form a belief as to the truth of the remaining allegations set
                                                            7   forth in Paragraph 20 of the TAC and therefore denies the truth of the allegations.
                                                            8                21.   In response to the allegations in Paragraph 21 of the TAC, Defendant denies
                                                            9   that its principal office is located at 624 NW 53rd Street, Suite 700, Boca Raton, Florida
                                                           10   33487. Defendant states that its principal corporate office is located at 4955 Technology
                                                           11   Way, Boca Raton, Florida 33431.              Defendant otherwise admits the allegations in
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                                                           12   Paragraph 21 of the TAC.
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                                                           13                                     FACTUAL ALLEGATIONS
                                                           14                A.    Immigration detention is civil-not criminal.
                                                           15                22.   In response to the allegations in Paragraph 22 of the TAC, Defendant states
                                                           16   that the allegations are not factual allegations for which a response is required. To the
                                                           17   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           18   22 of the TAC.
                                                           19                23.   In response to the allegations in Paragraph 23 of the TAC, Defendant states
                                                           20   that the allegations are not factual allegations for which a response is required. To the
                                                           21   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           22   23 of the TAC.
                                                           23                24.   In response to the allegations in Paragraph 24 of the TAC, Defendant states
                                                           24   that the allegations are legal conclusions for which no response is required and/or are not
                                                           25   factual allegations for which a response is required. To the extent any of the allegations
                                                           26   are factual, Defendant denies those allegations in Paragraph 24 of the TAC.
                                                           27

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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                25.   In response to the allegations in Paragraph 25 of the TAC, Defendant states
                                                            2   that the allegations are not factual allegations for which a response is required. To the
                                                            3   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                            4   25 of the TAC.
                                                            5                26.   In response to the allegations in Paragraph 26 of the TAC, Defendant states
                                                            6   that the allegations are not factual allegations for which a response is required. To the
                                                            7   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                            8   26 of the TAC.
                                                            9                B.    The privatization of immigration detention and GEO’s economic
                                                           10                      windfall.
                                                           11                27.   In response to the allegations in Paragraph 27 of the TAC, Defendant states
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                                                           12   that the allegations are not factual allegations for which a response is required. To the
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                                                           13   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           14   27 of the TAC.
                                                           15                28.   In response to the allegations in Paragraph 28 of the TAC, Defendant states
                                                           16   that the allegations are not factual allegations for which a response is required. To the
                                                           17   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           18   28 of the TAC.
                                                           19                29.   In response to the allegations in Paragraph 29 of the TAC, Defendant states
                                                           20   that the allegations are not factual allegations for which a response is required. To the
                                                           21   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           22   29 of the TAC.
                                                           23                30.   In response to the allegations in Paragraph 30 of the TAC, Defendant admits
                                                           24   that ICE accounted for 23.1% of Defendant’s revenue in 2016, up from 17.7% in 2015.
                                                           25   Defendant otherwise denies the allegations in Paragraph 30 of the TAC.
                                                           26                31.   Defendant admits the allegations in Paragraph 31 of the TAC.
                                                           27                32.   Defendant denies the allegations in Paragraph 32 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                33.   Defendant denies the allegations in Paragraph 33 of the TAC.
                                                            2                C.    GEO withholds necessary care from detainees at the Adelanto Facility.
                                                            3                34.   Defendant admits the allegations in Paragraph 34 of the TAC.
                                                            4                35.   Defendant denies the allegations in Paragraph 35 of the TAC.
                                                            5                36.   In response to the allegations in Paragraph 36 of the TAC, Defendant admits
                                                            6   an ICE report regarding a September 18-20, 2012 compliance inspection of Adelanto
                                                            7   states the quoted language. Defendant otherwise denies the allegations in Paragraph 36
                                                            8   of the TAC.
                                                            9                37.   In response to the allegations in Paragraph 37 of the TAC, Defendant admits
                                                           10   an ICE report regarding a September 18-20, 2012 compliance inspection of Adelanto
                                                           11   states the quoted language. Defendant otherwise denies the allegations in Paragraph 37
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                                                           12   of the TAC.
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                                                           13                38.   In response to the allegations in Paragraph 38 of the TAC, Defendant admits
                                                           14   an ICE report regarding a July 8-10, 2014 compliance inspection of Adelanto stated a
                                                           15   deficiency regarding a PBNDS standard on sexual abuse and assault prevention and
                                                           16   intervention. Defendant otherwise denies the allegations in Paragraph 38 of the TAC.
                                                           17                39.   In response to the allegations in Paragraph 39 of the TAC, Defendant admits
                                                           18   the cited newspaper articles state the summarized language. Defendant otherwise denies
                                                           19   the allegations in Paragraph 39 of the TAC.
                                                           20                40.   Defendant denies the allegations in Paragraph 40 of the TAC.
                                                           21                41.   Defendant denies the allegations in Paragraph 41 of the TAC.
                                                           22                42.   In response to the allegations in Paragraph 42 of the TAC, Defendant admits
                                                           23   the Department of Homeland Security, Office of Inspector General September 27, 2018
                                                           24   Management Alert states the summarized language. Defendant otherwise denies the
                                                           25   allegations in Paragraph 42 of the TAC.
                                                           26                43.   Defendant denies the allegations in Paragraph 43 of the TAC.
                                                           27                44.   Defendant denies the allegations in Paragraph 44 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                D.    GEO uses detained immigrants to clean, maintain, and operate the
                                                            2                      Adelanto Facility.
                                                            3                45.   In response to the allegations in Paragraph 45 of the TAC, Defendant admits
                                                            4   that detainees who choose to participate in the Voluntary Work Program may receive a
                                                            5   $1 per day for each day of participation in the Voluntary Work Program regardless of
                                                            6   tasks performed, work accomplished, or duration of participation. Defendant otherwise
                                                            7   denies the allegations in Paragraph 45 of the TAC.
                                                            8                46.   Defendant is without sufficient information to admit or deny the allegations
                                                            9   set forth in Paragraph 46 of the TAC and therefore denies the allegations in Paragraph 46
                                                           10   of the TAC.
                                                           11                47.   In response to the allegations in Paragraph 47 of the TAC, Defendant states
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                                                           12   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
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                                                           13   and are not factual allegations for which a response is required. Defendant specifically
                                                           14   denies that Defendant withholds “necessary care from its detained immigrants” and
                                                           15   denies that detained immigrants are “forced to submit to GEO’s $1 per day scheme in
                                                           16   order to buy necessities.” To the extent any of the allegations are factual, Defendant
                                                           17   denies those allegations in Paragraph 47 of the TAC.
                                                           18                48.   In response to the allegations in Paragraph 48 of the TAC, Defendant
                                                           19   specifically denies operating an “Uncompensated Work Program.” Defendant otherwise
                                                           20   denies the allegations in Paragraph 48 of the TAC.
                                                           21                49.   Defendant denies the allegations in Paragraph 49 of the TAC.
                                                           22                50.   In response to the allegations in Paragraph 50 of the TAC, Defendant denies
                                                           23   operating an “Uncompensated Work Program.” Defendant further states that Plaintiffs’
                                                           24   allegations contain Plaintiffs’ characterization of the Voluntary Work Program and are
                                                           25   not factual allegations for which a response is required. To the extent any of the
                                                           26   allegations are factual, Defendant denies those allegations in Paragraph 50 of the TAC.
                                                           27

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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                51.   In response to the allegations in Paragraph 51 of the TAC, Defendant denies
                                                            2   operating an “Uncompensated Work Program.”                Defendant admits that it provides
                                                            3   detainees with personal protection equipment and work uniforms as appropriate under
                                                            4   the Voluntary Work Program. Defendant otherwise denies the remaining allegations in
                                                            5   Paragraph 51 of the TAC.
                                                            6                52.   In response to the allegations in Paragraph 52 of the TAC, Defendant denies
                                                            7   operating an “Uncompensated Work Program.” Defendant otherwise denies the
                                                            8   remaining allegations in Paragraph 52 of the TAC.
                                                            9                53.   In response to the allegations in Paragraph 53 of the TAC, Defendant admits
                                                           10   that pursuant to its contract with ICE, it pays detainees $1 per day to their commissary
                                                           11   accounts for participation in the Voluntary Work Program. Defendant otherwise denies
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                                                           12   the remaining allegations in Paragraph 53 of the TAC.
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                                                           13                54.   In response to the allegations in Paragraph 54 of the TAC, Defendant denies
                                                           14   operating an “Uncompensated Work Program.” Defendant otherwise denies the
                                                           15   allegations in Paragraph 54 of the TAC.
                                                           16                55.   In response to the allegations in Paragraph 55 of the TAC, Defendant denies
                                                           17   operating an “Uncompensated Work Program.” Defendant otherwise denies the
                                                           18   allegations in Paragraph 55 of the TAC.
                                                           19                56.   Defendant generally admits the allegations in Paragraph 56 of the TAC.
                                                           20   Defendant’s admission herein does not extend or apply to detainees voluntarily
                                                           21   participating in the Voluntary Work Program pursuant to Defendant’s contract with ICE.
                                                           22                57.   In response to the allegations in Paragraph 57 of the TAC, Defendant denies
                                                           23   operating an “Uncompensated Work Program.” In response to the other allegations in
                                                           24   Paragraph 57 of the TAC, Defendant admits that the Voluntary Work Program
                                                           25   participants may choose to perform self-care tasks like meal preparation, basic
                                                           26   housekeeping chores, and grooming to eliminate idle time while in detention. Defendant
                                                           27   otherwise denies the remaining allegations in Paragraph 57 of the TAC.
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                58.   In response to the allegations in Paragraph 58 of the TAC, Defendant denies
                                                            2   operating an “Uncompensated Work Program.” In response to the other allegations in
                                                            3   Paragraph 58 of the TAC, Defendant admits that Voluntary Work Program participants
                                                            4   may choose to perform self-care tasks like meal preparation, basic housekeeping chores,
                                                            5   and grooming to eliminate idle time while in detention. Defendant otherwise denies the
                                                            6   remaining allegations in Paragraph 58 of the TAC.
                                                            7                59.   In response to the allegations in Paragraph 59 of the TAC, Defendant denies
                                                            8   operating an “Uncompensated Work Program.” Defendant otherwise denies the
                                                            9   allegations in Paragraph 59 of the TAC.
                                                           10                60.   In response to the allegations in Paragraph 60 of the TAC, Defendant denies
                                                           11   operating an “Uncompensated Work Program.” In response to the other allegations in
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                                                           12   Paragraph 60 of the TAC, Defendant admits that it works with ICE to both select
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                                                           13   detainees for participation in the Voluntary Work Program and, in some instances,
                                                           14   dismiss detainees from their work assignments.              Defendant otherwise denies the
                                                           15   remaining allegations in Paragraph 60 of the TAC.
                                                           16                61.   In response to the allegations in Paragraph 61 of the TAC, Defendant states
                                                           17   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           18   and are not factual allegations for which a response is required. To the extent any of the
                                                           19   allegations are factual, Defendant denies those allegations in Paragraph 61 of the TAC.
                                                           20   California’s minimum wage laws do not establish an employment relationship between
                                                           21   detainees and Defendant.             Competitive employment opportunities covered by
                                                           22   California’s minimum wage laws serve no purpose in this environment and conflict with
                                                           23   federal immigration and detention policies. Federal immigration detainees similarly have
                                                           24   no right to claim competitive wages while detained at the government’s expense.
                                                           25                62.   In response to the allegations in Paragraph 62 of the TAC, Defendant denies
                                                           26   that Defendant’s contract with ICE requires Defendant to comply with all federal, state,
                                                           27   and local laws. The ICE contract may require compliance with “applicable” federal,
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1   state, and local laws, but Defendant expressly denies the applicability of California’s laws
                                                            2   to Defendant as stated by Plaintiffs and the purported putative class.
                                                            3                63.   In response to the allegations in Paragraph 63 of the TAC, Defendant states
                                                            4   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                            5   and are not factual allegations for which a response is required. To the extent any of the
                                                            6   allegations are factual, Defendant denies those allegations in Paragraph 63 of the TAC.
                                                            7                64.   Defendant denies the allegations in Paragraph 64 of the TAC.
                                                            8                65.   Defendant denies the allegations in Paragraph 65 of the TAC.
                                                            9                E.    GEO secures free detainee labor at nearly all of its civil immigration
                                                           10                      detention centers nationwide through systemic threats of serious harm.
                                                           11                66.   Defendant admits the allegations in Paragraph 66 of the TAC.
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                                                           12                67.   Defendant admits the allegations in Paragraph 67 of the TAC.
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                                                           13                68.   Defendant admits the allegations in Paragraph 68 of the TAC.
                                                           14                69.   In response to the allegations in Paragraph 69 of the TAC, Defendant states
                                                           15   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the PBNDS and are not
                                                           16   factual allegations for which a response is required. Defendant denies any allegations in
                                                           17   Paragraph 69 of the TAC that are inconsistent in any way with its contract with ICE and
                                                           18   the PBNDS.
                                                           19                70.   Defendant admits the allegations in Paragraph 70 of the TAC.
                                                           20                71.   Defendant denies the allegations in Paragraph 71 of the TAC.
                                                           21                72.   Defendant denies the allegations in Paragraph 72 of the TAC.
                                                           22                73.   Defendant denies the allegations in Paragraph 73 of the TAC.
                                                           23                74.   Defendant denies the allegations in Paragraph 74 of the TAC.
                                                           24                75.   Defendant admits the allegations in Paragraph 75 of the TAC.
                                                           25                76.   Defendant admits the allegations in Paragraph 76 of the TAC.
                                                           26                77.   Defendant denies the allegations in Paragraph 77 of the TAC.
                                                           27                78.   Defendant denies the allegations in Paragraph 78 of the TAC.
                                                           28
                                                                                                                              CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                                                          10
                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1                79.   In response to the allegations in Paragraph 79 of the TAC, Defendant admits
                                                            2   detainees receive both an ICE National Detainee Handbook and a local handbook
                                                            3   supplement during the intake process. Defendant states that the “[r]efusal to clean [an]
                                                            4   assigned living area” is listed as a “Category III Offense” in one or both of the Detainee
                                                            5   Handbooks, as well as PBNDS § 3.1, and admits a penalty of disciplinary restriction of
                                                            6   up to 72 hours, inter alia, is permitted under PBNDS §3.1. Defendant specifically denies
                                                            7   Plaintiffs’ allegation that “disciplinary restriction” is “also known as solitary
                                                            8   confinement.” Defendant otherwise denies the remaining allegations in Paragraph 79 of
                                                            9   the TAC.
                                                           10                80.   Defendant denies the allegations in Paragraph 80 of the TAC.
                                                           11                81.   Defendant denies the allegations in Paragraph 81 of the TAC.
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                                                           12                82.   Defendant denies the allegations in Paragraph 82 of the TAC.
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                                                           13                83.   Defendant denies the allegations in Paragraph 83 of the TAC.
                                                           14                84.   In response to the allegations in Paragraph 84 of the TAC, Defendant admits
                                                           15   that the Detainee Handbooks contain a “Rights and Responsibilities” section applicable
                                                           16   to detainees at Adelanto. The Detainee Handbooks speak for themselves and Defendant
                                                           17   specifically denies any allegations in Paragraph 84 of the TAC that are inconsistent in
                                                           18   any way. In further response to the remaining allegations in Paragraph 84 of the TAC,
                                                           19   Defendant states that these allegations contain Plaintiffs’ characterization of the nature
                                                           20   of the action and are not factual allegations for which a response is required. To the
                                                           21   extent any of the allegations are factual, Defendant denies those allegations in Paragraph
                                                           22   84 of the TAC.
                                                           23                85.   Defendant denies the allegations in Paragraph 85 of the TAC.
                                                           24                86.   In response to the allegations in Paragraph 86 of the TAC, Defendant states
                                                           25   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           26   and are not factual allegations for which a response is required. To the extent any of the
                                                           27   allegations are factual, Defendant denies those allegations in Paragraph 86 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                87.   In response to the allegations in Paragraph 87 of the TAC, Defendant denies
                                                            2   the “personal housekeeping requirement” set forth in PBNDS § 5.8.V.C. is limited to the
                                                            3   four enumerated items set forth therein.           In further response to the allegations in
                                                            4   Paragraph 87 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                            5   characterization of the nature of the action and are not factual allegations for which a
                                                            6   response is required. To the extent any of the allegations are factual, Defendant denies
                                                            7   those allegations in Paragraph 87 of the TAC.
                                                            8                88.   In response to the allegations in Paragraph 88 of the TAC, Defendant states
                                                            9   that Plaintiff’s allegations are legal conclusions to which no response is required. To the
                                                           10   extent any of the remaining allegations are factual in nature, Defendant denies any
                                                           11   allegations in Paragraph 88 inconsistent with the federal laws they purport to represent
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                                                           12   and/or summarize.
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                                                           13                89.   In response to the allegations in Paragraph 89 of the TAC, Defendant states
                                                           14   that Plaintiff’s allegations are legal conclusions to which no response is required. To the
                                                           15   extent any of the remaining allegations are factual in nature, Defendant denies any
                                                           16   allegations in Paragraph 89 inconsistent with the federal laws they purport to represent
                                                           17   and/or summarize.
                                                           18                90.   In response to the allegations in Paragraph 90 of the TAC, Defendant states
                                                           19   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           20   and are not factual allegations for which a response is required. To the extent any of the
                                                           21   allegations are factual, Defendant denies those allegations in Paragraph 90 of the TAC.
                                                           22                91.   Defendant denies the allegations in Paragraph 91 of the TAC.
                                                           23                F.    Plaintiff Raul Novoa’s individual allegations.
                                                           24                92.   Defendant is without knowledge or information sufficient to form a belief
                                                           25   as to the truth of the allegations set forth in Paragraph 92 of the TAC and therefore denies
                                                           26   the truth of the allegations.
                                                           27

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                                                            1                93.   Defendant is without knowledge or information sufficient to form a belief
                                                            2   as to the truth of the allegations set forth in Paragraph 93 of the TAC and therefore denies
                                                            3   the truth of the allegations.
                                                            4                94.   Defendant admits Plaintiff Novoa was detained at the Adelanto Facility for
                                                            5   a period of time. Defendant otherwise denies the allegations in Paragraph 94 of the TAC.
                                                            6                95.   In response to the allegations in Paragraph 95 of the TAC, Defendant admits
                                                            7   that Plaintiff Novoa received $1 per day as an allowance for participating in the Voluntary
                                                            8   Work Program. Defendant further states that Plaintiff Novoa did not “work for GEO”
                                                            9   and Plaintiff Novoa and other federal immigration detainees have no right to claim
                                                           10   competitive wages while detained at government expense.                Defendant denies the
                                                           11   remaining allegations in Paragraph 95 of the TAC.
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                                                           12                96.   Defendant is without knowledge or information sufficient to form a belief
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                                                           13   as to the truth of the allegations set forth in Paragraph 96 of the TAC and therefore denies
                                                           14   the truth of the allegations.
                                                           15                97.   Defendant is without knowledge or information sufficient to form a belief
                                                           16   as to the truth of the allegations set forth in Paragraph 97 of the TAC and therefore denies
                                                           17   the truth of the allegations.
                                                           18                98.   In response to the allegations in Paragraph 98 of the TAC, Defendant admits
                                                           19   that Plaintiff Novoa received $1 per day as an allowance for participating in the Voluntary
                                                           20   Work Program. Defendant is without knowledge or information sufficient to form a
                                                           21   belief as to the truth of the remaining allegations set forth in Paragraph 98 of the TAC
                                                           22   and therefore denies the truth of the allegations.
                                                           23                99.   Defendant denies the allegations in Paragraph 99 of the TAC.
                                                           24                100. Defendant denies the allegations in Paragraph 100 of the TAC.
                                                           25                101. Defendant denies the allegations in Paragraph 101 of the TAC.
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                                                            1                102. Defendant is without knowledge or information sufficient to form a belief
                                                            2   as to the truth of the allegations set forth in Paragraph 102 of the TAC and therefore
                                                            3   denies the truth of the allegations.
                                                            4                103. Defendant denies the allegations in Paragraph 103 of the TAC.
                                                            5                104. Defendant denies the allegations in Paragraph 104 of the TAC.
                                                            6                105. Defendant is without knowledge or information sufficient to form a belief
                                                            7   as to the truth of the allegations set forth in Paragraph 105 of the TAC and therefore
                                                            8   denies the truth of the allegations.
                                                            9                106. Defendant is without knowledge or information sufficient to form a belief
                                                           10   as to the truth of the allegations set forth in Paragraph 106 of the TAC and therefore
                                                           11   denies the truth of the allegations.
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                                                           12                107. Defendant is without knowledge or information sufficient to form a belief
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                                                           13   as to the truth of the allegations set forth in Paragraph 107 of the TAC and therefore
                                                           14   denies the truth of the allegations.
                                                           15                108. Defendant denies the allegations in Paragraph 108 of the TAC.
                                                           16                109. Defendant denies the allegations in Paragraph 109 of the TAC.
                                                           17                110. Defendant denies the allegations in Paragraph 110 of the TAC.
                                                           18                111. Defendant is without knowledge or information sufficient to form a belief
                                                           19   as to the truth of the allegations set forth in Paragraph 111 of the TAC and therefore
                                                           20   denies the truth of the allegations.
                                                           21                112. Defendant is without knowledge or information sufficient to form a belief
                                                           22   as to the truth of the allegations set forth in Paragraph 112 of the TAC and therefore
                                                           23   denies the truth of the allegations.
                                                           24                113. Defendant denies the allegations in Paragraph 113 of the TAC.
                                                           25                114. Defendant denies the allegations in Paragraph 114 of the TAC.
                                                           26                115. In response to the allegations in Paragraph 115 of the TAC, Defendant states
                                                           27   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1   and are not factual allegations for which a response is required. To the extent any of the
                                                            2   allegations are factual, Defendant denies those allegations in Paragraph 115 of the TAC.
                                                            3                G.    Plaintiff Jaime Campos Fuentes’ individual allegations.
                                                            4                116. Defendant is without knowledge or information sufficient to form a belief
                                                            5   as to the truth of the allegations set forth in Paragraph 116 of the TAC and therefore
                                                            6   denies the truth of the allegations.
                                                            7                117. In response to the allegations in Paragraph 117 of the TAC, Defendant
                                                            8   admits Plaintiff Fuentes was detained at the Adelanto Facility for a period of time.
                                                            9   Defendant otherwise denies the allegations in Paragraph 117 of the TAC.
                                                           10                118. In response to the allegations in Paragraph 118 of the TAC, Defendant
                                                           11   admits that Plaintiff Fuentes received $1 per day as an allowance for participating in the
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                                                           12   Voluntary Work Program. Defendant further states that Plaintiff Novoa did not “work
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                                                           13   for GEO” and Plaintiff Fuentes and other federal immigration detainees have no right to
                                                           14   claim competitive wages while detained at government expense. Defendant denies the
                                                           15   remaining allegations in Paragraph 118 of the TAC.
                                                           16                119. Defendant is without knowledge or information sufficient to form a belief
                                                           17   as to the truth of the allegations set forth in Paragraph 119 of the TAC and therefore
                                                           18   denies the truth of the allegations.
                                                           19                120. Defendant is without knowledge or information sufficient to form a belief
                                                           20   as to the truth of the allegations set forth in Paragraph 120 of the TAC and therefore
                                                           21   denies the truth of the allegations.
                                                           22                121. In response to the allegations in Paragraph 121 of the TAC, Defendant
                                                           23   admits that Plaintiff Fuentes received $1 per day as an allowance for participating in the
                                                           24   Voluntary Work Program. Defendant is without knowledge or information sufficient to
                                                           25   form a belief as to the truth of the remaining allegations set forth in Paragraph 121 of the
                                                           26   TAC and therefore denies the truth of the allegations.
                                                           27                122. Defendant denies the allegations in Paragraph 122 of the TAC.
                                                           28
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                                                            1                123. In response to the allegations in Paragraph 123 of the TAC, Defendant
                                                            2   admits that detainees were required to clean their personal space and common living areas
                                                            3   pursuant to Defendant’s contract with ICE and all of the standard and requirements
                                                            4   incorporated by reference therein including, but not limited to, the applicable PBNDS
                                                            5   sections, ACA standards and requirements, ICE National Detainee Handbook, and the
                                                            6   applicable housekeeping standards.           Defendant otherwise denies the allegations in
                                                            7   Paragraph 123 of the TAC.
                                                            8                124. Defendant is without knowledge or information sufficient to form a belief
                                                            9   as to the truth of the allegations set forth in Paragraph 124 of the TAC and therefore
                                                           10   denies the truth of the allegations.
                                                           11                125. Defendant is without knowledge or information sufficient to form a belief
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                                                           12   as to the truth of the allegations set forth in Paragraph 125 of the TAC and therefore
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                                                           13   denies the truth of the allegations.
                                                           14                126. Defendant is without knowledge or information sufficient to form a belief
                                                           15   as to the truth of the allegations set forth in Paragraph 126 of the TAC and therefore
                                                           16   denies the truth of the allegations.
                                                           17                127. Defendant denies the allegations in Paragraph 127 of the TAC.
                                                           18                128. Defendant denies the allegations in Paragraph 128 of the TAC.
                                                           19                129. Defendant denies the allegations in Paragraph 129 of the TAC.
                                                           20                130. Defendant denies the allegations in Paragraph 130 of the TAC.
                                                           21                131. Defendant is without knowledge or information sufficient to form a belief
                                                           22   as to the truth of the allegations set forth in Paragraph 131 of the TAC and therefore
                                                           23   denies the truth of the allegations.
                                                           24                132. Defendant denies the allegations in Paragraph 132 of the TAC.
                                                           25                133. Defendant denies the allegations in Paragraph 133 of the TAC.
                                                           26                134. In response to the allegations in Paragraph 134 of the TAC, Defendant states
                                                           27   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
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                                                            1   and are not factual allegations for which a response is required. To the extent any of the
                                                            2   allegations are factual, Defendant denies those allegations in Paragraph 134 of the TAC.
                                                            3                H.    Plaintiff Abdiaziz Karim’s individual allegation.
                                                            4                135. Defendant is without knowledge or information sufficient to form a belief
                                                            5   as to the truth of the allegations set forth in Paragraph 135 of the TAC and therefore
                                                            6   denies the truth of the allegations.
                                                            7                136. In response to the allegations in Paragraph 136 of the TAC, Defendant
                                                            8   admits Plaintiff Karim was detained at the Adelanto Facility for a period of time.
                                                            9   Defendant otherwise denies the allegations in Paragraph 136 of the TAC.
                                                           10                137. In response to the allegations in Paragraph 137 of the TAC, Defendant
                                                           11   admits that Plaintiff Karim received $1 per day as an allowance for participating in the
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                                                           12   Voluntary Work Program. Defendant further states that Plaintiff Karim did not “work
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                                                           13   for GEO” and Plaintiff Karim and other federal immigration detainees have no right to
                                                           14   claim competitive wages while detained at government expense. Defendant denies the
                                                           15   remaining allegations in Paragraph 137 of the TAC.
                                                           16                138. Defendant is without knowledge or information sufficient to form a belief
                                                           17   as to the truth of the allegations set forth in Paragraph 138 of the TAC and therefore
                                                           18   denies the truth of the allegations.
                                                           19                139. In response to the allegations in Paragraph 139 of the TAC, Defendant
                                                           20   admits that Plaintiff Karim received $1 per day as an allowance for participating in the
                                                           21   Voluntary Work Program. Defendant denies the allegation that Plaintiff Karim “was not
                                                           22   paid at all during his first three months on the job.” Defendant denies the remaining
                                                           23   allegations in Paragraph 139 of the TAC.
                                                           24                140. Defendant denies the allegations in Paragraph 140 of the TAC.
                                                           25                141. Defendant denies the allegations in Paragraph 141 of the TAC.
                                                           26                142. Defendant denies the allegations in Paragraph 142 of the TAC.
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                                                            1                143. Defendant is without knowledge or information sufficient to form a belief
                                                            2   as to the truth of the allegations set forth in Paragraph 143 of the TAC and therefore
                                                            3   denies the truth of the allegations.
                                                            4                144. Defendant denies the allegations in Paragraph 144 of the TAC.
                                                            5                145. Defendant denies the allegations in Paragraph 145 of the TAC.
                                                            6                146. In response to the allegations in Paragraph 146 of the TAC, Defendant
                                                            7   admits that detainees were required to clean their personal space and common living areas
                                                            8   pursuant to Defendant’s contract with ICE and all of the standard and requirements
                                                            9   incorporated by reference therein including, but not limited to, the applicable PBNDS
                                                           10   sections, ACA standards and requirements, ICE National Detainee Handbook, and the
                                                           11   applicable housekeeping standards.           Defendant otherwise denies the allegations in
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                                                           12   Paragraph 146 of the TAC.
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                                                           13                147. Defendant denies the allegations in Paragraph 147 of the TAC.
                                                           14                148. Defendant denies the allegations in Paragraph 148 of the TAC.
                                                           15                149. Defendant denies the allegations in Paragraph 149 of the TAC.
                                                           16                150. Defendant denies the allegations in Paragraph 150 of the TAC.
                                                           17                151. Defendant denies the allegations in Paragraph 151 of the TAC.
                                                           18                152. Defendant denies the allegations in Paragraph 152 of the TAC.
                                                           19                153. Defendant is without knowledge or information sufficient to form a belief
                                                           20   as to the truth of the allegations set forth in Paragraph 153 of the TAC and therefore
                                                           21   denies the truth of the allegations.
                                                           22                154. Defendant is without knowledge or information sufficient to form a belief
                                                           23   as to the truth of the allegations set forth in Paragraph 154 of the TAC and therefore
                                                           24   denies the truth of the allegations.
                                                           25                155. Defendant denies the allegations in Paragraph 155 of the TAC.
                                                           26                156. In response to the allegations in Paragraph 156 of the TAC, Defendant states
                                                           27   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
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                                                            1   and are not factual allegations for which a response is required. To the extent any of the
                                                            2   allegations are factual, Defendant denies those allegations in Paragraph 156 of the TAC.
                                                            3                I.    Plaintiff Ramon Mancia’s individual allegations.
                                                            4                157. Defendant is without knowledge or information sufficient to form a belief
                                                            5   as to the truth of the allegations set forth in Paragraph 157 of the TAC and therefore
                                                            6   denies the truth of the allegations.
                                                            7                158. Defendant admits the allegations in Paragraph 158 of the TAC.
                                                            8                159. In response to the allegations in Paragraph 159 of the TAC, Defendant states
                                                            9   that Plaintiff Mancia did not “work for GEO” and Plaintiff Mancia and other federal
                                                           10   immigration detainees have no right to claim competitive wages while detained at
                                                           11   government expense. Defendant is without knowledge or information sufficient to form
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                                                           12   a belief as to the truth of the remaining allegations in Paragraph 159 of the TAC and
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                                                           13   therefore denies the truth of the allegations.
                                                           14                160. Defendant is without knowledge or information sufficient to form a belief
                                                           15   as to the truth of the allegations set forth in Paragraph 160 of the TAC and therefore
                                                           16   denies the truth of the allegations.
                                                           17                161. Defendant is without knowledge or information sufficient to form a belief
                                                           18   as to the truth of the allegations set forth in Paragraph 161 of the TAC and therefore
                                                           19   denies the truth of the allegations.
                                                           20                162. Defendant denies the allegations in Paragraph 162 of the TAC.
                                                           21                163. Defendant denies the allegations in Paragraph 163 of the TAC.
                                                           22                164. Defendant denies the allegations in Paragraph 164 of the TAC.
                                                           23                165. Defendant denies the allegations in Paragraph 165 of the TAC.
                                                           24                166. Defendant denies the allegations in Paragraph 166 of the TAC.
                                                           25                167. Defendant denies the allegations in Paragraph 167 of the TAC.
                                                           26                168. Defendant denies the allegations in Paragraph 168 of the TAC.
                                                           27                169. Defendant denies the allegations in Paragraph 169 of the TAC.
                                                           28
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                                                            1                170. Defendant is without knowledge or information sufficient to form a belief
                                                            2   as to the truth of the allegations set forth in Paragraph 170 of the TAC and therefore
                                                            3   denies the truth of the allegations.
                                                            4                171. Defendant is without knowledge or information sufficient to form a belief
                                                            5   as to the truth of the allegations set forth in Paragraph 171 of the TAC and therefore
                                                            6   denies the truth of the allegations.
                                                            7                172. In response to the allegations in Paragraph 172 of the TAC, Defendant states
                                                            8   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                            9   and are not factual allegations for which a response is required. To the extent any of the
                                                           10   allegations are factual, Defendant denies those allegations in Paragraph 172 of the TAC.
                                                           11                                  CLASS ACTION ALLEGATIONS
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                                                           12                173. In response to the allegations in Paragraph 173 of the TAC, Defendant states
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                                                           13   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           14   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           15   the allegations are factual, Defendant denies those allegations in Paragraph 173 of the
                                                           16   TAC.
                                                           17         A. Class Definitions
                                                           18                174. The California Wage Class. In response to the allegations in Paragraph
                                                           19   174 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                           20   characterization of the nature of the action and calls for a legal conclusion for which no
                                                           21   response is required. To the extent any of the allegations are factual, Defendant denies
                                                           22   those allegations in Paragraph 174 of the TAC.
                                                           23                175. The California Forced Labor Class. In response to the allegations in
                                                           24   Paragraph 175 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                           25   characterization of the nature of the action and calls for a legal conclusion for which no
                                                           26   response is required. To the extent any of the allegations are factual, Defendant denies
                                                           27   those allegations in Paragraph 175 of the TAC.
                                                           28
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                                                            1                176. The Nationwide HUSP Class. In response to the allegations in Paragraph
                                                            2   176 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                            3   characterization of the nature of the action and calls for a legal conclusion for which no
                                                            4   response is required. To the extent any of the allegations are factual, Defendant denies
                                                            5   those allegations in Paragraph 176 of the TAC.
                                                            6                177. In response to the allegations in Paragraph 177 of the TAC, Defendant states
                                                            7   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                            8   and calls for a legal conclusion for which no response is required. To the extent any of
                                                            9   the allegations are factual, Defendant denies those allegations in Paragraph 177 of the
                                                           10   TAC.
                                                           11                178. The Adelanto Forced Labor Class. In response to the allegations in
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                                                           12   Paragraph 178 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
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                                                           13   characterization of the nature of the action and calls for a legal conclusion for which no
                                                           14   response is required. To the extent any of the allegations are factual, Defendant denies
                                                           15   those allegations in Paragraph 178 of the TAC.
                                                           16                179. In response to the allegations in Paragraph 179 of the TAC, Defendant states
                                                           17   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           18   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           19   the allegations are factual, Defendant denies those allegations in Paragraph 179 of the
                                                           20   TAC.
                                                           21                B.    Class Certification Requirements under Rule 23
                                                           22                180. Numerosity: Rule 23(a)(1). In response to the allegations in Paragraph
                                                           23   180 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                           24   characterization of the nature of the action and calls for a legal conclusion for which no
                                                           25   response is required. To the extent any of the allegations are factual, Defendant denies
                                                           26   those allegations in Paragraph 180 of the TAC.
                                                           27

                                                           28
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                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1                181. Commonality and Predominance: Rules 23(a)(2) and 23(b)(3).                In
                                                            2   response to the allegations in Paragraph 181 of the TAC, Defendant states that Plaintiffs’
                                                            3   allegations contain Plaintiffs’ characterization of the nature of the action and calls for a
                                                            4   legal conclusion for which no response is required. To the extent any of the allegations
                                                            5   are factual, Defendant denies those allegations in Paragraph 181 of the TAC.
                                                            6                182. In response to the allegations in Paragraph 182 of the TAC, Defendant states
                                                            7   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                            8   and calls for a legal conclusion for which no response is required. To the extent any of
                                                            9   the allegations are factual, Defendant denies those allegations in Paragraph 182 of the
                                                           10   TAC.
                                                           11                183. In response to the allegations in Paragraph 183 of the TAC, Defendant states
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                                                           12   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
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                                                           13   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           14   the allegations are factual, Defendant denies those allegations in Paragraph 183 of the
                                                           15   TAC.
                                                           16                184. In response to the allegations in Paragraph 184 of the TAC, Defendant states
                                                           17   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           18   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           19   the allegations are factual, Defendant denies those allegations in Paragraph 184 of the
                                                           20   TAC.
                                                           21                185. In response to the allegations in Paragraph 185 of the TAC, Defendant states
                                                           22   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           23   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           24   the allegations are factual, Defendant denies those allegations in Paragraph 185 of the
                                                           25   TAC.
                                                           26                186. Typicality: Rule 23(a)(3). In response to the allegations in Paragraph 186
                                                           27   of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1   characterization of the nature of the action and calls for a legal conclusion for which no
                                                            2   response is required. Defendant specifically denies the allegation that Plaintiffs’ or any
                                                            3   purported class members were “employed by GEO at the Adelanto Facility” and “faced
                                                            4   the threat of serious harm for refusing to work.” To the extent any of the allegations are
                                                            5   factual, Defendant denies those allegations in Paragraph 186 of the TAC.
                                                            6                187. Adequacy: Rule 23(a)(4). In response to the allegations in Paragraph 187
                                                            7   of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
                                                            8   characterization of the nature of the action and calls for a legal conclusion for which no
                                                            9   response is required. To the extent any of the allegations are factual, Defendant denies
                                                           10   those allegations in Paragraph 187 of the TAC.
                                                           11                188. Superiority: Rule 23(b)(3). In response to the allegations in Paragraph
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                                                           12   188 of the TAC, Defendant states that Plaintiffs’ allegations contain Plaintiffs’
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                                                           13   characterization of the nature of the action and calls for a legal conclusion for which no
                                                           14   response is required. Defendant specifically denies the allegation that Plaintiffs’ or any
                                                           15   purported class members “suffered and will continue to suffer harm and damages as a
                                                           16   result of GEO’s wrongful conduct.” To the extent any of the allegations are factual,
                                                           17   Defendant denies those allegations in Paragraph 188 of the TAC.
                                                           18                189. Rule 23(b)(2). In response to the allegations in Paragraph 189 of the TAC,
                                                           19   Defendant states that Plaintiffs’ allegations contain Plaintiffs’ characterization of the
                                                           20   nature of the action and calls for a legal conclusion for which no response is required.
                                                           21   Defendant specifically denies the allegation that Defendant’s policies and practices
                                                           22   “place every detainee at the Adelanto and GEO’s other civil immigration detention
                                                           23   facilities in peril of wage theft, forced labor, attempted forced labor, and serious harm.”
                                                           24   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           25   Paragraph 189 of the TAC.
                                                           26   ///
                                                           27   ///
                                                           28
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                                                                                                          23
                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
                                                                       AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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                                                            1                                         CAUSES OF ACTION
                                                            2                                                COUNT I
                                                            3                               CALIFORNIA MINIMUM WAGE LAW
                                                            4                                 Cal. Labor Code §§ 1194, 1197, 1197.1
                                                            5                190. Defendant incorporates by reference its responses to the allegations in
                                                            6   Paragraph 1 through 189.
                                                            7                191. Defendant admits the allegations in Paragraph 191 of the TAC.
                                                            8                192. In response to the allegations in Paragraph 192 of the TAC, Defendant states
                                                            9   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           10   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           11   Paragraph 192 of the TAC.
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                                                           12                193. Defendant denies the allegations in Paragraph 193 of the TAC.
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                                                           13                194. In response to the allegations in Paragraph 194 of the TAC, Defendant states
                                                           14   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           15   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           16   Paragraph 194 of the TAC.
                                                           17                195. Defendant denies the allegations in Paragraph 195 of the TAC.
                                                           18                196. Defendant denies the allegations in Paragraph 196 of the TAC.
                                                           19                197. In response to the allegations in Paragraph 197 of the TAC, Defendant states
                                                           20   that Plaintiffs’ allegations contain Plaintiffs’ characterization of the nature of the action
                                                           21   and calls for a legal conclusion for which no response is required. To the extent any of
                                                           22   the allegations are factual, Defendant denies those allegations in Paragraph 197 of the
                                                           23   TAC.
                                                           24                198. In response to the allegations in Paragraph 198 of the TAC, Defendant
                                                           25   admits that detainees who participate in the Voluntary Work Program receive a $1
                                                           26   allowance per day pursuant to Defendant’s contract with ICE. Defendant otherwise
                                                           27   denies the remaining allegations in Paragraph 198 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                199. Defendant denies the allegations in Paragraph 199 of the TAC.
                                                            2                200. Defendant denies the allegations in Paragraph 200 of the TAC.
                                                            3                201. Defendant denies the allegations in Paragraph 201 of the TAC.
                                                            4                202. Defendant denies the allegations in Paragraph 202 of the TAC.
                                                            5                                               COUNT II
                                                            6                                       UNJUST ENRICHMENT
                                                            7                                        California Common Law
                                                            8                203. Defendant incorporates by reference its responses to the allegations in
                                                            9   Paragraph 1 through 202.
                                                           10                204. Defendant denies the allegations in Paragraph 204 of the TAC.
                                                           11                205. Defendant denies the allegations in Paragraph 205 of the TAC.
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                                                           12                206. Defendant denies the allegations in Paragraph 206 of the TAC.
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                                                           13                207. Defendant denies the allegations in Paragraph 207 of the TAC.
                                                           14                208. Defendant denies the allegations in Paragraph 208 of the TAC.
                                                           15                209. Defendant denies the allegations in Paragraph 209 of the TAC.
                                                           16                210. Defendant denies the allegations in Paragraph 210 of the TAC.
                                                           17                211. Defendant denies the allegations in Paragraph 211 of the TAC.
                                                           18                                               COUNT III
                                                           19                           CALIFORNIA UNFAIR COMPETITION LAW
                                                           20                                 Cal. Bus. & Prof. Code § 17200, et seq.
                                                           21                212. Defendant incorporates by reference its responses to the allegations in
                                                           22   Paragraph 1 through 211.
                                                           23                213. In response to the allegations in Paragraph 213 of the TAC, Defendant states
                                                           24   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           25   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           26   Paragraph 213 of the TAC.
                                                           27                214. Defendant denies the allegations in Paragraph 214 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                215. Defendant denies the allegations in Paragraph 215 of the TAC.
                                                            2                216. Defendant denies the allegations in Paragraph 216 of the TAC.
                                                            3                217. Defendant denies the allegations in Paragraph 217 of the TAC.
                                                            4                218. Defendant denies the allegations in Paragraph 218 of the TAC.
                                                            5                                               COUNT IV
                                                            6                                           FORCED LABOR
                                                            7                   CALIFORNIA TRAFFICKING VICTIMS PROTECTION ACT
                                                            8                                          Cal. Civ. Code § 52.5
                                                            9                219. Defendant incorporates by reference its responses to the allegations in
                                                           10   Paragraph 1 through 218.
                                                           11                220. Defendant denies the allegations in Paragraph 220 of the TAC.
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                                                           12                221. In response to the allegations in Paragraph 221 of the TAC, Defendant states
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                                                           13   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           14   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           15   Paragraph 221 of the TAC.
                                                           16                222. In response to the allegations in Paragraph 222 of the TAC, Defendant states
                                                           17   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           18   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           19   Paragraph 222 of the TAC.
                                                           20                223. In response to the allegations in Paragraph 223 of the TAC, Defendant states
                                                           21   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           22   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           23   Paragraph 223 of the TAC.
                                                           24                224. Defendant denies the allegations in Paragraph 224 of the TAC.
                                                           25                225. Defendant denies the allegations in Paragraph 225 of the TAC.
                                                           26                226. Defendant denies the allegations in Paragraph 226 of the TAC.
                                                           27                227. Defendant denies the allegations in Paragraph 227 of the TAC.
                                                           28
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                                                                                                          26
                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                228. Defendant denies the allegations in Paragraph 228 of the TAC.
                                                            2                229. Defendant denies the allegations in Paragraph 229 of the TAC.
                                                            3                230. Defendant denies the allegations in Paragraph 230 of the TAC.
                                                            4                                                      COUNT V
                                                            5                                                 FORCED LABOR
                                                            6                     FEDERAL TRAFFICKING VICTIMS PROTECTION ACT
                                                            7                                         U.S.C. §§ 1589(a) and 1594(a)
                                                            8                231. Defendant denies the allegations in Paragraph 231 of the TAC.1
                                                            9                232. In response to the allegations in Paragraph 232 of the TAC, Defendant states
                                                           10   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           11   To the extent any of the allegations are factual, Defendant denies those allegations in
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                                                           12   Paragraph 232 of the TAC.
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                                                           13                233. In response to the allegations in Paragraph 233 of the TAC, Defendant states
                                                           14   that Plaintiffs’ allegations call for a legal conclusion for which no response is required.
                                                           15   To the extent any of the allegations are factual, Defendant denies those allegations in
                                                           16   Paragraph 233 of the TAC.
                                                           17                234. Defendant denies the allegations in Paragraph 234 of the TAC.
                                                           18                235. Defendant denies the allegations in Paragraph 235 of the TAC.
                                                           19                236. Defendant denies the allegations in Paragraph 236 of the TAC.
                                                           20                237. Defendant denies the allegations in Paragraph 237 of the TAC.
                                                           21                238. Defendant denies the allegations in Paragraph 238 of the TAC.
                                                           22                239. Defendant denies the allegations in Paragraph 239 of the TAC.
                                                           23                240. Defendant denies the allegations in Paragraph 240 of the TAC.
                                                           24                241. Defendant denies the allegations in Paragraph 241 of the TAC.
                                                           25                242. Defendant denies the allegations in Paragraph 242 of the TAC.
                                                           26

                                                           27   1
                                                                 Count V of the TAC does not include a paragraph realleging and incorporating by reference all previous allegations.
                                                                Nevertheless, Defendant hereby incorporates into its response to Count V of the TAC its responses to the allegations in
                                                           28   Paragraphs 1 through 230.
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                                                                    DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                243. Defendant denies the allegations in Paragraph 243 of the TAC.
                                                            2                                              COUNT VI
                                                            3                          FORCED AND ATTEMPTED FORCED LABOR
                                                            4                     FEDERAL TRAFFICKING VICTIMS PROTECTION ACT
                                                            5                                     U.S.C. §§ 1589(a) and 1594(a)
                                                            6                244. Defendant incorporates by reference its responses to the allegations in
                                                            7   Paragraph 1 through 243.
                                                            8                245. Defendant denies the allegations in Paragraph 245 of the TAC.
                                                            9                246. Defendant denies the allegations in Paragraph 246 of the TAC.
                                                           10                247. Defendant denies the allegations in Paragraph 247 of the TAC.
                                                           11                248. Defendant denies the allegations in Paragraph 248 of the TAC.
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                                                           12                249. Defendant denies the allegations in Paragraph 249 of the TAC.
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                                                           13                250. Defendant denies the allegations in Paragraph 250 of the TAC.
                                                           14                251. Defendant denies the allegations in Paragraph 251 of the TAC.
                                                           15                252. Defendant denies the allegations in Paragraph 252 of the TAC.
                                                           16                                             COUNT VII
                                                           17                                           RETALIATION
                                                           18                253. Defendant incorporates by reference its responses to the allegations in
                                                           19   Paragraph 1 through 252.
                                                           20                254. Defendant admits the allegations in Paragraph 254 of the TAC.
                                                           21                255. Defendant admits the allegations in Paragraph 255 of the TAC.
                                                           22                256. Defendant admits the allegations in Paragraph 256 of the TAC.
                                                           23                257. Defendant admits the allegations in Paragraph 257 of the TAC.
                                                           24                258. Defendant admits the allegations in Paragraph 258 of the TAC.
                                                           25                259. Defendant admits the allegations in Paragraph 259 of the TAC.
                                                           26                260. Defendant admits the allegations in Paragraph 260 of the TAC.
                                                           27                261. Defendant admits the allegations in Paragraph 261 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                262. Defendant denies the allegations in Paragraph 262 of the TAC.
                                                            2                263. Defendant admits Plaintiff Novoa was detained at the Adelanto Facility for
                                                            3   a period of time. Defendant otherwise denies the allegations in Paragraph 263 of the TAC.
                                                            4                264. In response to the allegations in Paragraph 264 of the TAC, Defendant
                                                            5   admits Plaintiff Novoa, on behalf of himself and all others similarly situated, filed a class
                                                            6   action against Defendant, but denies that Plaintiff Novoa has any right to maintain this
                                                            7   action as a class action or that Plaintiffs are entitled to any recovery in this action.
                                                            8   Defendant otherwise denies the allegations in Paragraph 264 of the TAC,
                                                            9                265. Defendant admits it answered Plaintiff’s original Complaint and brought the
                                                           10   subject counterclaim for “declaratory relief” against Plaintiff Novoa and all putative class
                                                           11   members on July 3, 2018. Defendant otherwise denies the allegations in Paragraph 265
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                                                           12   of the TAC.
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                                                           13                266. Defendant denies the allegations in Paragraph 266 of the TAC.
                                                           14                267. Defendant denies the allegations in Paragraph 267 of the TAC.
                                                           15                268. Defendant denies the allegations in Paragraph 268 of the TAC.
                                                           16                269. In response to the allegations in Paragraph 269 of the TAC, Defendant
                                                           17   admits the cited Petition for Permission to Appeal Class Action Certification in Menocal
                                                           18   et al. v. The GEO Group, Inc., No. 14-02887 (10th Cir. Mar 13, 2017) states the quoted
                                                           19   “potentially catastrophic risk” language. Defendant otherwise denies the allegations in
                                                           20   Paragraph 269 of the TAC.
                                                           21                270. Defendant denies the allegations in Paragraph 270 of the TAC.
                                                           22                271. In response to the allegations in Paragraph 271 of the TAC, Defendant
                                                           23   admits Plaintiffs’ counterclaim in reply of retaliation arises out of the same transaction
                                                           24   or occurrence and the same set of aggregate facts, but denies that Plaintiffs’ have any
                                                           25   right to maintain the retaliation claim or that Plaintiffs are entitled to any recovery under
                                                           26   this claim.
                                                           27                272. Defendant admits the allegations in Paragraph 272 of the TAC.
                                                           28
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                273. Defendant denies the allegations in Paragraph 273 of the TAC.
                                                            2                                RESPONSE TO PRAYER FOR RELIEF
                                                            3                Defendant denies that Plaintiffs are entitled to the relief demanded in the ad
                                                            4   dammum clause immediately following Paragraph 273 of the TAC, including
                                                            5   subparagraphs a through i.
                                                            6                                            GENERAL DENIAL
                                                            7                Defendant denies each and every allegation of the TAC not expressly admitted
                                                            8   above.
                                                            9                                       AFFIRMATIVE DEFENSES
                                                           10                Without admitting liability or the burden of proof as to Plaintiffs’ allegations,
                                                           11   Defendant states its affirmative defenses as follows:
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                                                           12                                         First Affirmative Defense
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                                                           13                Each purported cause of action of Plaintiffs’ TAC fails to allege facts sufficient to
                                                           14   state a cause of action against Defendant.
                                                           15                                        Second Affirmative Defense
                                                           16                Defendant has immunity from this lawsuit.
                                                           17                                         Third Affirmative Defense
                                                           18                Plaintiffs’ seek relief barred by the applicable statutes of limitations.
                                                           19                                        Fourth Affirmative Defense
                                                           20                Plaintiffs’ California Minimum Wage law claim, unjust enrichment claim,
                                                           21   California Unfair Competition law claim, and California Trafficking Victims Protection
                                                           22   Act claim are pre-empted by federal law.
                                                           23                                         Fifth Affirmative Defense
                                                           24                Plaintiffs’ alleged injuries and damages, if any, were caused by the acts of a third
                                                           25   party who has not been named a party to this action and over whom Defendant had no
                                                           26   control.
                                                           27   ///
                                                           28
                                                                                                                              CASE NO. 5:17-CV-02514-JGB-SHKX
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                                                                     DEFENDANT THE GEO GROUP, INC.’S ANSWER AND COUNTERCLAIM TO PLAINTIFFS’ THIRD
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                                                            1                                         Sixth Affirmative Defense
                                                            2                Plaintiffs’ requested relief violates the law, and is otherwise impossible to attain in
                                                            3   conformance with the law. Neither the Plaintiffs nor putative class members have a legal
                                                            4   right to work at minimum wage rates because none has sought approval from the U.S.
                                                            5   Attorney General for employment with Defendant, and none are qualified to work for
                                                            6   Defendant under ICE’s contract terms and federal law. Plaintiffs’ participating in the
                                                            7   Voluntary Work Program was voluntary.
                                                            8                                       Seventh Affirmative Defense
                                                            9                Plaintiffs’ lack standing to represent the individuals they seek to represent under
                                                           10   the claims asserted in the TAC.
                                                           11                                        Eighth Affirmative Defense
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                                                           12                The California Minimum Wage Law, and IWC Wage Order are unconstitutionally
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                                                           13   vague and/or overbroad as applied to Defendant’s administration of the Voluntary Work
                                                           14   Program.
                                                           15                                         Ninth Affirmative Defense
                                                           16                The California Trafficking Victims Protection Act is unconstitutionally vague
                                                           17   and/or overbroad as applied to Defendant’s administration of the Voluntary Work
                                                           18   Program and any other program or allowance under Defendant’s contract with ICE.
                                                           19                                        Tenth Affirmative Defense
                                                           20                The federal Trafficking Victims Protection Act is unconstitutionally vague and/or
                                                           21   overbroad as applied to Defendant’s administration of the Voluntary Work Program and
                                                           22   any other program or allowance under Defendant’s contract with ICE..
                                                           23                                           Reservation of Rights
                                                           24                Defendant reserves the right to revise, supplement or amend this Answer and
                                                           25   Affirmative Defenses in accordance with the Federal Rules of Civil Procedure.
                                                           26                WHEREFORE, Defendant respectfully requests that this Court enter a Final
                                                           27   Judgment in its favor and against Plaintiffs and award Defendant such other and further
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                                                            1   relief as the Court deems just and proper.
                                                            2                                CONDITIONAL COUNTERCLAIM
                                                            3                Counter-Claimant, The GEO Group, Inc. (“GEO”), by and through counsel, brings
                                                            4   the following conditional counterclaim against Counter-Defendants, Raul Novoa, Jaime
                                                            5   Campos Fuentes, Abdiaziz Karim, and Ramon Mancia (“Counter-Defendants”), and
                                                            6   against any putative class or classes certified by the Court.
                                                            7                                    JURISDICTION AND VENUE
                                                            8                1.    To the extent this Court holds that it has subject matter jurisdiction despite
                                                            9   GEO’s immunity, the Court will have jurisdiction over the parties and subject matter over
                                                           10   this counterclaim. GEO asserts its counterclaim only in the event that the Court has
                                                           11   determined it has subject matter jurisdiction. GEO does not waive and expressly reserves
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                                                           12   its objection to subject matter jurisdiction with respect to Plaintiffs’/Counter-Defendants’
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                                                           13   claims. To the extent GEO is subject to jurisdiction in this Court, jurisdiction over GEO’s
                                                           14   counterclaim is grounded in diversity pursuant to 28 § U.S.C. 1332. GEO is a Florida
                                                           15   corporation with its principal place of business in Florida. Raul Novoa is a citizen of
                                                           16   Mexico, who alleges he is a resident of California. Jaime Campos Fuentes is a citizen of
                                                           17   El Salvador, who alleges he is a resident of California. Abdiaziz Karim is a citizen of
                                                           18   Somalia. Ramon Mancia alleges he is a citizen of El Salvador and alleges he is a resident
                                                           19   of California. The amount in controversy on the counterclaims exceeds $75,000.00.
                                                           20                2.    Alternatively, this Court has supplemental jurisdiction over the
                                                           21    counterclaim pursuant to 28 U.S.C. § 1367(a), as the counterclaim forms part of the same
                                                           22    case or controversy as the claims asserted by Plaintiffs/Counter-Defendants under
                                                           23    Article III of the United States Constitution.
                                                           24                3.    Venue is proper in this Court, as the events giving rise to the counterclaim
                                                           25    occurred in this district.
                                                           26    ///
                                                           27    ///
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                                                            1                                                PARTIES
                                                            2                4.    GEO is a Florida corporation with its principal place of business in Florida.
                                                            3   GEO is a service provider that operates the Adelanto Facility for the housing of federal
                                                            4   immigration detainees in the custody of the federal government, under terms set out in
                                                            5   the contracts between the City of Adelanto and ICE, and the City of Adelanto and GEO,
                                                            6   and applicable regulations and detention facility standards, and the laws of the United
                                                            7   States.
                                                            8                5.    Raul Novoa is a citizen of Mexico, who alleges he is a resident of
                                                            9    California. Counter-Defendant Novoa was an ICE detainee at the Adelanto Facility at
                                                           10    various times from 2012 to 2015.
                                                           11                6.    Jaime Campos Fuentes is a citizen of El Salvador, who alleges he is a
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                                                           12    resident of California. Counter-Defendant Campos Fuentes was an ICE detainee at the
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                                                           13    Adelanto Facility from 2016 to 2018.
                                                           14                7.    Abdiaziz Karim is a citizen of Somalia. Counter-Defendant Karim was an
                                                           15    ICE detainee at the Adelanto Facility from 2017 to 2019.
                                                           16                8.    Ramon Mancia alleges he is a citizen of El Salvador and alleges he is resident
                                                           17    of California. Counter-Defendant Mancia is an ICE detainee at the Adelanto Facility since
                                                           18    April 2019.
                                                           19                9.    While detained at the Adelanto Facility, Counter-Defendants did not have
                                                           20    authorization from the U.S. Attorney General to be employed in the United States under
                                                           21    federal law.
                                                           22                10.   Because Counter-Defendants were in the custody of the federal government
                                                           23    while at the Adelanto Facility and participated in the Voluntary Work Program,
                                                           24    California’s Minimum Wage Law (“MWL”) does not apply to them.
                                                           25    ///
                                                           26    ///
                                                           27    ///
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                                                            1                                     FIRST CAUSE OF ACTION
                                                            2                                Declaratory Relief—28 U.S.C. § 2201(a)
                                                            3                11.   GEO incorporates the allegations in Paragraphs 1-10 above, by reference
                                                            4   as if fully stated herein.
                                                            5                12.   At all times relevant to these proceedings, GEO administered a Voluntary
                                                            6   Work Program at the Adelanto Facility as required by the ICE contract. That Voluntary
                                                            7   Work Program was, and is, subject to federal detention standards.
                                                            8                13.   The Voluntary Work Program at the Adelanto Facility is critical to the safe
                                                            9   and secure operations of the facility. Specifically, the Voluntary Work Program reduces
                                                           10   idle time for detainees and promotes institutional efficiency, just as similar programs do
                                                           11   in California’s own facilities.
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                                                           12                14.   Pursuant to an express authorization from Congress that ICE may authorize
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                                                           13   allowances to immigration detainees for work performed while detained, ICE
                                                           14   authorized an allowance of $1.00 per day for each Voluntary Work Program participant.
                                                           15   ICE also prohibits GEO from employing any detainees. ICE must clear any GEO
                                                           16   employee working at the Adelanto Facility via a background check performed by ICE.
                                                           17   ICE also requires GEO to immediately suspend any employee found to have a history
                                                           18   of arrests.
                                                           19                15.   Counter-Defendants and the putative class members were participants in
                                                           20   the Voluntary Work Program at the Adelanto Facility. They were not authorized by ICE
                                                           21   to work for GEO or anyone else in the United States, and did not complete the
                                                           22   requirements for employment specified in the City’s detention services agreement with
                                                           23   ICE. Counter-Defendant Novoa himself was ineligible for work because he was
                                                           24   detained by ICE based on his criminal record in the United States, which includes
                                                           25   possession of controlled substances, possession of a firearm by a felon, giving a false
                                                           26   ID to a peace officer, and domestic violence. Counter-Defendants have not alleged that
                                                           27

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                                                            1   they, or any other Adelanto detainee, was granted work authorization by the Attorney
                                                            2   General.
                                                            3                16.   Counter-Defendants initiated this lawsuit, claiming California’s labor laws
                                                            4   apply to them and the putative class members, when they do not. Because Counter-
                                                            5   Defendants were in the custody of the federal government while at the Adelanto Facility
                                                            6   and participating in the Voluntary Work Program, California’s MWL does not apply to
                                                            7   them. This matter presents an actual controversy that can be finally resolved by the Court.
                                                            8                17.   GEO has already incurred attorneys’ fees and other costs defending
                                                            9   against Plaintiff/Counter-Defendants’ claims, and will continue to do so.
                                                           10                18.   ICE detainees at the Adelanto Facility, including Counter-Defendants and
                                                           11   the putative class members, are federal immigration detainees housed at the Adelanto
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                                                           12   Facility pursuant to the City’s detention services agreement with ICE. They are not
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                                                           13   employed by GEO, and are not employees of GEO. The work performed by these
                                                           14   detainees is performed for reasons other than compensation in order to provide for
                                                           15   necessary food and shelter, as detainees participating in the Voluntary Work Program do
                                                           16   not participate in commerce and do not depend on the wages they earn for basic
                                                           17   necessities such as, for example, housing, food, clothing, and recreation, while detained.
                                                           18                19.   GEO therefore seeks a declaration that: (1) no employment relationship
                                                           19   exists between GEO and detainees who participate in the Voluntary Work Program,
                                                           20   including but not limited to Counter-Defendants and the putative class members; (2) such
                                                           21   detainees, including but not limited to Counter-Defendants and the putative class
                                                           22   members, are not employees of GEO, and GEO is not their employer; (3) as a result,
                                                           23   California’s labor laws and wage orders do not apply to such detainees, including but not
                                                           24   limited to Counter-Defendants and the putative class members; and (4) Counter-
                                                           25   Defendants and putative class members are not entitled to disgorgement or other
                                                           26   equitable relief for allegedly unpaid wages or allegedly inequitable revenues or profits;
                                                           27   (5) GEO has not violated the TVPA; (6) GEO has not violated the California TVPA.
                                                           28
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                                                            1
                                                                             WHEREFORE, GEO prays for the following relief:
                                                                             1.   An order enjoining Counter-Defendants and the putative class members
                                                            2
                                                                 from claiming California’s labor laws apply to them;
                                                            3
                                                                             2.   An order declaring California’s labor laws do not apply to ICE detainees at
                                                            4
                                                                 the Adelanto Facility, including but not limited to laws requiring payment of minimum
                                                            5
                                                                 wage and overtime wages;
                                                            6
                                                                             3.   An order declaring that there is no employment relationship between GEO
                                                            7
                                                                 and detainees housed at the Adelanto Facility who participate in the Volunteer Work
                                                            8
                                                                 Program, specifically that GEO is not the employer of such detainees, and that such
                                                            9
                                                                 detainees are not employees of GEO;
                                                           10

                                                           11
                                                                     4.           An order declaring that GEO has not violated the TVPA or California
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                                                                 TVPA.
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                                                           12
                                                                             5.   An award of attorneys’ fees and costs; and
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                                                           13
                                                                             6.   Other and further relief as the Court deems just and equitable.
                                                           14

                                                           15
                                                                Dated: October 15, 2019                    AKERMAN LLP
                                                           16

                                                           17
                                                                                                           By: /s/ Damien P. DeLaney________
                                                           18                                                  Damien P. DeLaney
                                                                                                               Colin L. Barnacle
                                                           19                                                  Ashley E. Calhoun
                                                           20                                                  Attorney for Defendant
                                                                                                               THE GEO GROUP, INC.
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